Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 1 of 49
Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 2 of 49
Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 3 of 49
Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 4 of 49
                     Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 5 of 49




 1                                                                Table of Context
 2   I.         Introduction ............................................................................................................................................... 8

 3   II.        The grounds for the court's jurisdiction........................................................................................... 9

 4         1.          Diversity Jurisdiction .......................................................................................................................... 9

 5         2.          Federal Question Jurisdiction.......................................................................................................... 9

 6              i.         The First Amendment. .............................................................................................................. 10

 7              (1)            The right to petition the Government for a redress of grievances.................. 10

 8              (2)            Defamation/Libel/Slander/Abet...................................................................................... 10

 9              (3)            Restatement (Second) of Torts ...................................................................................... 11

10              (4)            Advocacy of Illegal Action / Due Process Clause ................................................ 11

11              ii.        The Fourth Amendment............................................................................................................. 11

12              iii.       The Fifth Amendment ............................................................................................................... 12

13              (1)            Due Process-- Double Jeopardy .................................................................................. 12

14              (2)            The promise of legality and fair procedure................................................................ 12

15              (3)            Guarantee Of A Fair Trial .................................................................................................... 12

16              (4)            Trial Procedure-- preponderance of the evidence ................................................. 13

17              iv.        The Sixth Amendment .............................................................................................................. 13

18              (1)            Public trial without unnecessary delay ...................................................................... 13

19              (2)            The right to trial by impartial jury. ................................................................................. 13

20              (3)            Right to confront witness. ............................................................................................... 14

21              a)         To ensure that witnesses would testify under oath and understand the serious

22              nature of the trial process;.................................................................................................................. 14

23              b)         To allow the accused to cross-examine witnesses who testify against him; and ... 14
               Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 6 of 49




 1        c)        To allow jurors to assess the credibility of a witness by observing that witness’s

 2        behavior.................................................................................................................................................... 14

 3        v.        The Eighth Amendment ............................................................................................................. 14

 4        vi.       The Thirteenth Amendment ..................................................................................................... 15

 5        vii.          The Fourteenth Amendment ............................................................................................. 15

 6        (1)           Equal Protection --Discrimination ................................................................................ 15

 7        a)        Referring to 18 U.S. Code § 242 .............................................................................................. 15

 8        b)        They have been too lawless ...................................................................................................... 15

 9        (2)           Conspiracy ................................................................................................................................ 15

10        a)        Preventing officer from performing duties. ......................................................................... 16

11        b)        Obstructing justice; intimidating party, witness, or juror. ............................................... 16

12        c)        Depriving persons of rights or privileges. ............................................................................ 16

13        (3)           Deprivation ............................................................................................................................... 16

14   3.          Additional grounds-Civil/human rights .................................................................................... 16

15        i.        Inhuman treats .............................................................................................................................. 17

16        ii.       False confessions .......................................................................................................................... 17

17        iii.      Police prosecutor and judge misconduct ............................................................................ 17

18        iv.       Unreliable evidence ..................................................................................................................... 17

19        v.        Perjured informant testimony .................................................................................................. 17

20        vi.       Malicious alleges .......................................................................................................................... 17

21        vii.          Known false charges ............................................................................................................... 17

22        viii.         Ineffective defense counsel .................................................................................................. 17

23        ix.       Racism and implicit bias ............................................................................................................. 17

24        x.        Inaction neglect and indifference ........................................................................................... 17
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 7 of 49




 1          xi.    Offense and discrimination ....................................................................................................... 17

 2          xii.       Human rights violation .......................................................................................................... 17

 3   III.   Statement of the claim ........................................................................................................................ 17

 4          1.     Identity theft................................................................................................................................... 17

 5          2.     Omission and misconduct 1: King County Attorney (aka: KCA) SMC and SCA. ... 18

 6          3.     Rental Fraud (Attachment 17&18 Police Report 2021-183800)................................... 18

 7          4.     Omission and misconduct 2: KCA, SMC and SCA. ............................................................ 18

 8          5.     Digital signature violations ........................................................................................................ 18

 9          6.     Omission and misconduct 3: KCA, SMC and SCA. ............................................................ 18

10          7.     Bigamy-Marriage Fraud. ............................................................................................................ 18

11          8.     Omission and misconduct 4: KCA, SMC and SCA. .......................................................... 19

12          9.     Other frauds-deceived payments and costs. ...................................................................... 19

13          10.        Omission and misconduct 5: KCA, SMC and SCA. ..................................................... 19

14          11.        Domestic Violence ................................................................................................................ 19

15          12.        Before 16/11/2020 .................................................................................................................. 20

16          13.        At Csilla Travis’s place, he insulted me for my race and nation. .............................. 20

17          14.        MR threatened me of I don't have any rights here. ..................................................... 20

18          15.        MR defrauded all the cash from me. (Fraud mentioned above),............................. 20

19          16.        MR kicked me out, threw my belongs, destroyed my devices while threatening,

20          cursing, and framing at me. ............................................................................................................... 20

21          17.        MR defamed me of using meth and cheating. .............................................................. 20

22          18.        MR was totally inhuman, shameless, and pure evil. ..................................................... 20

23          19.        The isolation, lies, abuse, tortures were happening every moment ....................... 20

24          20.        Omission and misconduct 6: KCA, SMC and SCA. ..................................................... 21
       Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 8 of 49




 1   21.       Libel/Slander/Defamations/Lies -Projection ................................................................. 21

 2   24)       He's got lots of advice from his boss(police).................................................................. 23

 3   25)       The rental plan. (Special plan) ............................................................................................. 23

 4   26)       He threatened me and commanded me to leave, ....................................................... 23

 5   27)       He put water into my iPad made it broken. ................................................................... 23

 6   24.       10/4/2020-11/3/2020 ............................................................................................................ 24

 7   25.       11/4/2020-11/18/2020.......................................................................................................... 24

 8   26.       11/18/2020-11/20/2020 ....................................................................................................... 25

 9   27.       I read the brochure about Domestic Violence from Office ....................................... 25

10   29.       The shamelessness and inhumanity .................................................................................. 29

11   30.       11/20/2020-01/20/2020. ...................................................................................................... 29

12   31.       Ildiko Baldwin, Remington A. Yhap Csilla Travis were all his weapon and

13   collusions to secondary damages. ................................................................................................... 29

14   32.       Another conspiracy. ................................................................................................................ 29

15   33.       On Dec 12 MR to Ildiko Baldwin......................................................................................... 29

16   34.       Omission and misconduct 8: KCA, SMC and SCA ...................................................... 35

17   35.       Intentional infliction of emotional distress/abuse. (for above 15 and 13) ............ 35

18   a)     There is no doubt for intentional emotional damage MR had done.......................... 35

19   b)     There is no doubt for SCA and SMC’s omission pursuant to RCW City Attorney. . 35

20   c)     There was no evidence supported MR, SCA and SMC’s charges ................................ 35

21   36.       MR had been intentionally trying to transfer Syphilis ................................................. 36

22   37.       Pursuant to RCW 9.62.010 and RCW 9A.80.010… ...................................................... 36

23   38.       The misconducts and disabilities. ....................................................................................... 36

24   39.       MR sold out all the shared properties .............................................................................. 36
      Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 9 of 49




 1   40.      Referring to Police Report 2021-013432 and Attachment 39,................................. 36

 2   41.      King County Superior Court. ................................................................................................ 37

 3   42.      On 01/23/2021 ......................................................................................................................... 37

 4   43.      police officers trespassed. ..................................................................................................... 37

 5   44.      SMC, SCA know the unlawful service ................................................................................ 37

 6   45.      I filed reports to King County Attorney. ....................................................................... 38

 7   46.      7/7/2020 ..................................................................................................................................... 38

 8   47.      And again, as negligence. ..................................................................................................... 38

 9   48.      On 6/30 hearing ....................................................................................................................... 38

10   49.      they were following the same instruction, otherwise too incidental. ..................... 38

11   50.      Total criminal with countless crimes. ................................................................................. 38

12   51.      The judge didn’t know/response to do ............................................................................ 39

13   52.      Misconduct ................................................................................................................................ 39

14   53.      It’s his abusive controlling and the best excuse to abscond.” .................................. 39

15   56.      Ildiko Baldwin, wasn’t even honest about her address on her declaration. ......... 40

16   57.      It was also malicious charges.. ............................................................................................. 40

17   58.      The judges failed to procedure lawful process .............................................................. 40

18   59.      Shamelessly the judges decided to put me in custody............................................... 40

19   60.      On the surface the court ordered evaluation for competency skillfully. Their real

20   purpose was to stealthily visualize me with incompetency. .................................................... 41

21   61.      Language barrier is not incompetency............................................................................. 41

22   62.      No matter how many times I tried to seek responses, call, and leave messages

23   around 10 am. and 12:30 pm. There was no response. ........................................................... 41

24   63.      KCA played the game of kicking balls. ............................................................................. 41
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 10 of 49




 1         64.         How inhumane how sick again and again. ..................................................................... 42

 2         65.         Against my family, I came out to be with him. Left home,. ....................................... 42

 3         66.         His abuse is killing. .................................................................................................................. 42

 4         67.         I filed statement “Pattern of Secondary Damage” last year. ..................................... 42

 5         68.         On 9/29/2021............................................................................................................................ 43

 6         69.         MR’s multiple identities.......................................................................................................... 43

 7         70.         MR has at least three social security numbers, he has ruined that many lives.

 8         Everything is too conclusives ............................................................................................................. 43

 9   IV.        Demand for the relief sought ....................................................................................................... 44

10         1.      The amounts of any actual damages. ................................................................................... 44

11         (1)         Frauds - Financial loss and costs – $ 29,800+15,000=44,800 .................................. 44

12         (2)         Loss of revenue. $ 286,000 (A) ............................................................................................ 44

13         (3)         Alleging breach of contract-Premarital Agreement-Marriage Fraud:

14         $ A*2=572,000 ....................................................................................................................................... 44

15         (4)         Alleging breach of contract-Violations on Behavior contract: $ A*2= 572,000 . 44

16         2.      Compensatory Damages and punitive damages. ............................................................. 44

17         (5)         Defamation/Perjury/Collusion ............................................................................................. 44

18         (6)         Domestic Violence-Miguel Rivera...................................................................................... 45

19         (7)         Inaction neglect and indifference ....................................................................................... 45

20         (8)         Injunction, Negligence, Damage Claim-Misconducts, Discrimination, Torture, -

21         Inaction neglect and indifference by SMC, SCA, KCA, KCSC, SPD: ....................................... 45

22         3.      Grant the motion dismissed unlawfully. ............................................................................. 45

23         (1)         Motion to order dismissal & Motion to Set Show Cause ........................................... 45

24         (2)         Motion for Immediate Restraining Order ........................................................................ 45
     Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 11 of 49




 1   (3)      Consolidate Declaration and Motion to Termination .................................................. 45

 2   (4)      Motion to modify No-Contact Order ............................................................................... 45

 3   (5)      Motion to No-Contact Order .............................................................................................. 45

 4   (6)      Motion to of prejudice & dismiss ....................................................................................... 45

 5   (7)      Motion to Restrict Abusive Litigation ................................................................................ 45

 6   4.    Petition for Writ of Habeas Corpus ........................................................................................ 45

 7   5.    COMPLAINT AND REQUEST FOR INJUNCTION ................................................................ 45

 8   6.    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS ............................................................... 45

 9   7.    COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE.............................................. 45

10

11
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 12 of 49




 1                                    I.      Introduction
 2     I apologize for the difficulties and confusions to overview and understand the events for

 3   the lack of generalization and summarization. As a fact that from every letter to all the

 4   petitions and motions are by me myself only who doesn’t have jurisprudence background

 5   nor English language background. There are barriers in communication, understanding and

 6   differences in cultural, background, but there are no diversities to the legality and fact. A

 7   crime is a crime, an offense is an offense, a misconduct is a misconduct. All I wanted was

 8   back home, all I tried was to protect myself, how I have been was passive, all I have done

 9   was struggling, but even the basic human right was not given. No matter how criminal one

10   individual is, it doesn’t determine how the society is, but now a group of individuals, the

11   whole Seattle Municipal Court and Seattle City Attorney are leading the crimes harboring

12   the criminal while destroying innocent lives, they don’t care about the legality, logic, moral

13   or shame and dignity. Some of the King County Attorney, the Washington State Attorney

14   know the best in how to push away their duties. The Seattle Municipal Court and Seattle

15   City Attorney know such the best in committing and creating crimes, though they watched

16   crimes happening under the nose, granted no human rights, they don’t even care who is

17   criminal, who did crime. So, can I doubt this Seattle City? Can I doubt this King County, this

18   State, this country? This Seattle Municipal Court and Seattle City Attorney are banded with

19   King County Attorney, I wish maybe the connection has not reached to the district. I am

20   sad, I may cry, I am happy I may smile, I am tired, I may sleep, I am thirsty, I may drink, I am

21   in pain, that’s why I yell and go the hospital.

22     Every event and case here is truthful, all the inferences are well proofed or provided with

23   evidence, I grant and swear my best honesty. I proofed my innocent, though Miguel Rivera

24   didn’t, he didn’t proof his innocent, he didn’t respond to my alleges, he didn’t deny his

25   crimes, Seattle City Attorney didn’t, Seattle Municipal Court didn’t, because they couldn’t.

26   That’s why they all have mislead, they stayed quiet to what I alleged, all they have done is

27   debarbed. Except the fact that my expressions and choices on words and sentences may

28   cause difficulties and confusions in understanding, I dare all is true, they have dared true.
           Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 13 of 49




 1            II.      The grounds for the court's jurisdiction
 2                                       1. Diversity Jurisdiction
 3   According to 28 U.S. Code § 1332 (a)

 4   The district courts shall have original jurisdiction of all civil actions where the matter in

 5   controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

 6   between—

 7   (1) citizens of different States.

 8   (2) citizens of a State and citizens or subjects of a foreign state, except that the district

 9   courts shall not have original jurisdiction under this subsection of an action between

10   citizens of a State and citizens or subjects of a foreign state who are lawfully admitted for

11   permanent residence in the United States and are domiciled in the same State.

12   (3) citizens of different States and in which citizens or subjects of a foreign state are

13   additional parties; and

14   (4)a foreign state, defined in section 1603(a) of this title, as plaintiff and citizens of a State

15   or of different States.

16   Most of the defendants are citizens of different States, only two of them resident in this

17   State, who didn’t participate significant part of the body. For clarification, Miguel Rivera is

18   primarily a citizen of the State of FL and PA, he did resident in the State of NY, CA, NJ, NC

19   as well. There are more residents I am not aware of. Due to Miguel Rivera is harbored by

20   the Seattle Municipal Court, the Seattle Municipal Court and Seattle City Attorney are

21   protecting this criminal, thus, I located him at the same address at where his representative

22   court and attorney at. Additionally, as previously filed and as the proof of his identities,

23   there are two Social Security numbers belong to him which I believe is a violation of the US

24   code as well. It is side evidence of Miguel Rivera as a fraudulent individual and the

25   continuing misconducts of Seattle Municipal Court and Seattle City Attorney.


26                              2. Federal Question Jurisdiction
27   According to 28 U.S. Code § 1331 – Federal question
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 14 of 49




 1   The district courts shall have original jurisdiction of all civil actions arising under the

 2   Constitution, laws, or treaties of the United States.

 3   The civil actions arising under the Constitution, laws, or treaties of the United State are as

 4   below and the detail of each action is under the statement section.

 5   i.        The First Amendment. 1

 6   (1) The right to petition the Government for a redress of grievances.

 7             As an unwritten rule, most of higher courts will decline the appeals without “final

 8   decisions”. Based on that, Seattle Municipal Court and Seattle City Attorney kept delaying

 9   the trail date. In order to expropriate my rights, they forged and framed me of “insane” as

10   their excuse to delay the trail. All of them the judges and prosecutors have not once

11   provided once nor one reason to the order of valuation. There are three times in written,

12   twice in person that I emphasized the nature of events to the Seattle Municipal Court and

13   Seattle City Attorney, as results they denied all of them illegally for failing to proof me

14   wrong and to proof the Miguel Rivera as innocent. Against to court rules and laws, against

15   to the truth, nature, fact, logic, the chain of right and wrong, they put me in jail for times

16   after times, the purpose is to reduce waste of resource and time, which has become their

17   weapon to achieve autarchy and hegemony. “No final decision”, the city attorney repeated.

18   That’s how they petitioned the denial of motion to appeal by stepping on the rules, laws

19   and humanity.

20   (2) Defamation/Libel/Slander/Abet
                                                                                                     2
21   See, e.g. TXO Production Corp. v. Alliance Resources, 509 U.S. 443 (1993).

22   Regarding to the disputed issues of fact, the record shows, inter alia, that Seattle Municipal

23   Court (aka: SMC) and Seattle City Attorney (aka: SCA) knew that 1. I experienced crimes, I

24   am innocent, while the DVPO No. 21-1-05123-8 was not valid, it was a verified fact of


     1
       The First Amendment guarantees freedoms concerning religion, expression, assembly, and the right to petition. It
     forbids Congress from both promoting one religion over others and also restricting an individual’s religious practices.
     It guarantees freedom of expression by prohibiting Congress from restricting the press or the rights of individuals to
     speak freely. It also guarantees the right of citizens to assemble peaceably and to petition their government.
     2
      In affirming, the State Supreme Court of Appeals, among other things, rejected TXO's contention that the punitive
     damages award violated the Due Process Clause of the Fourteenth Amendment as interpreted in Pacific Mutual Life Ins.
     Co. v. Haslip, 499 U.S. 1, 111 S.Ct. 1032, 113 L.Ed.2d 1.
     Held: The judgment is affirmed. For $19,000 in actual damages and $10 million in punitive damages.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 15 of 49




 1   defamation and perjuries of the defendants. 2. Miguel Rivera (aka: MR) had perjured and

 2   framed, there are police reports, identity theft report, etc. of facts. 3. MR is criminal, he has

 3   lots of criminal background provided with court records. 4. There is no effective or factual

 4   evidence to support his and the SCA’s alleges of domestic violence or violation. 5. The

 5   declarations of Ildiko Baldwin, Charlie Joe Wing, Csilla Travis, Remington Yhap were verified

 6   as perjuries of their collusions; the declarations of Donnie, Cristy Smith, Officer Abshir were

 7   untruthful. 5. MR knew the fact of his crimes, so that he colluded to frame me and to

 8   abscond. 6. SMC and SCA knew all the facts which had been filed to the court and

 9   emphasized over 5 times each on different hearings in person, they violated the due of

10   process and laws, and framed me of violation and “insanity”.

11   (3) Restatement (Second) of Torts 3

12   Under the Restatement (Second) of Torts, Ch. 25, Topic 2, §§ 585-592A, absolute privilege

13   extends to judicial officers, attorneys, jurors, witnesses in legislative proceedings, legally

14   required publications, and statements made by a party during trial or in a pleading.
                                                   4                         5
15   (4) Advocacy of Illegal Action / Due Process Clause

16   There are good titles to human rights and basic legal rights at issue; though the defendants

17   acted in bad faith by advancing their power on those decisions on the basis of illogical

18   perjuries, collusions and discriminations instead of humanity in an effort to screen the truth

19   and obviate providing one reason for their dismissals but to prison the truth and to harbor

20   the criminal; that the anticipated results and decisions by governors—and therefore that

21   SMC and SCA sought to frame and prison—were substantial; that they are who have power

22   and authority, a large, wealthy, well-connected municipal employees; and it is reasonable

23   to believe that had engaged in nefarious activities in the country and county jail.

24   ii.         The Fourth Amendment


     3
         The detail is in the statement section.
     4
      In Brandenburg v. Ohio, 395 U.S. 444 (1969), the Supreme Court held, "the constitutional guarantees of free speech
     and free press do not permit a State to forbid or proscribe advocacy of the use of force or of law violation except
     where such advocacy is directed to inciting or producing imminent lawless action and is likely to incite or produce such
     action."
     5
       The Due Process Clause of the Fourteenth Amendment as protecting the rights in the First Amendment from
     interference by state governments.
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 16 of 49




 1   The right of the people to be secure in their persons, houses, papers, and effects,

 2   against unreasonable searches and seizures, shall not be violated.

 3   Please refer to Attachment 1, police officers trespassed on my property.

 4   iii.      The Fifth Amendment 6

 5   (1) Due Process-- Double Jeopardy 7

 6   For the same reason of “Violation of protection” I have been charged for seven times on

 7   records (with case numbers) and many additional times without case numbers. (Dockets in

 8   Attachment 2)
 9   (2) The promise of legality and fair procedure

10   The prosecutors and judges neglected the fact that King County Superior Court had

11   dismissed MR’s petition for protection, they perjured to put me in custody. All of which I

12   had proofed my innocent and the criminal fact of Miguel Rivera. Furthermore, (an) intent is

13   the (logical) basis of crime, all the MR’s alleges were not worth consideration at all. How

14   vulnerable one person full of criminal records and abusive history needed to be to be

15   abused by someone new to the state who has no local connection, no criminal background

16   but barriers in language and more in culture.

17   (3) Guarantee Of A Fair Trial

18   a) Repeatedly in jeopardy of life I had been suffering both physical and mental tortures



     6
       The Fifth Amendment creates a number of rights relevant to both criminal and civil legal proceedings. In criminal
     cases, the Fifth Amendment guarantees the right to a grand jury, forbids “double jeopardy,” and protects against self-
     incrimination. It also requires that “due process of law” be part of any proceeding that denies a citizen “life, liberty or
     property” and requires the government to compensate citizens when it takes private property for public use. No
     person shall be……nor shall any person be subject for the same offence to be twice put in jeopardy of life or limb; nor
     be deprived of life, liberty, or property, without due process of law; nor shall private property be taken for public use,
     without just compensation.
     7
      While there is no definitive list of the "required procedures" that due process requires, Judge Henry Friendly
     generated a list that remains highly influential, as to both content and relative priority:
         1. An unbiased tribunal.
         2. Notice of the proposed action and the grounds asserted for it.
         3. Opportunity to present reasons why the proposed action should not be taken.
         4. The right to present evidence, including the right to call witnesses.
         5. The right to know opposing evidence.
         6. The right to cross-examine adverse witnesses.
         7. A decision based exclusively on the evidence presented.
         8. Opportunity to be represented by counsel.
         9. Requirement that the tribunal prepare a record of the evidence presented.
         10. Requirement that the tribunal prepare written findings of fact and reasons for its decision.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 17 of 49




 1       from the Miguel Rivera and the governance. (Attachment 3)

 2   b) The Miguel Rivera sold out my private properties and the shared properties, which

 3          included a lot of evidence and my passport. There, without identity papers or cards I

 4          stayed nowhere for 43 days during the snow the new year the birthday... (Attachment

 5          4) Police officer took my access card in King County Jail.
 6   c) The Miguel Rivera has been verified and proofed as a fraud and abuser with the

 7          declarations of his prior. His husband, ex-boyfriends, families, friends had experienced

 8          with court records and other official records. The neglect and mistreat of Seattle

 9          Municipal Court, Seattle City Attorney and King County Superior Court had not only

10          deprived me of life, liberty and property, but also as nuisance and public nuisances to

11          the rest.

12   d) No reason for their decisions or process, no due process at all, no just compensation;

13          no fairness, no justice, no dignity, no humanity.

14   (4) Trial Procedure-- preponderance of the evidence

15   Once a trial begins, the U.S. Constitution affords further rights to criminal defendants.

16   Trying to avoid convicting an innocent defendant at all costs, the law only permits the

17   prosecution to overcome the defendant's presumption of innocence if they can show the

18   defendant's guilt beyond a reasonable doubt. This very high burden differs drastically from

19   a civil trial's much lower standard in which the plaintiff must only prove a claim by a
                                  8
20   preponderance of the evidence .
                                             9
21   iv.         The Sixth Amendment

22   (1) Public trial without unnecessary delay 10

23   (2) The right to trial by impartial jury.

24   Never was informed of the nature and cause of the accusation after being proofed not


     8
       Preponderance of the evidence is one type of evidentiary standard used in a burden of proof analysis. Under the
     preponderance standard, the burden of proof is met when the party with the burden convinces the fact finder that
     there is a greater than 50% chance that the claim is true. This is the burden of proof in a civil trial.
     9
       In all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial, by an impartial jury of the
     State and district wherein the crime shall have been committed, which district shall have been previously ascertained
     by law, and to be informed of the nature and cause of the accusation; to be confronted with the witnesses against him;
     to have compulsory process for obtaining witnesses in his favor, and to have the Assistance of Counsel for his defense.
     10
          As above mentioned, while more detail in the statement section
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 18 of 49




 1   guilty, the Seattle Municipal Court and Seattle City Attorney are as criminals and the

 2   harbor of crimes, (Attachment 5)

 3   (3) Right to confront witness. 11

 4   In Mattox v. United States, 156 U.S. 237 (1895), the Supreme Court enunciated the three

 5   fundamental purposes that the Confrontation Clause was meant to serve:

 6   a) To ensure that witnesses would testify under oath and understand the serious nature of

 7         the trial process;

 8   b) To allow the accused to cross-examine witnesses who testify against him; and

 9   c) To allow jurors to assess the credibility of a witness by observing that witness’s behavior

10   The accused enjoyed no right to a trial, On the hearing of 06/30, the judge asked me

11   about the trial, notified me of the risks to be “pro-se”, I insisted and answered: “I do

12   know, and I am aware of the possibility of punishment, no matter one year, even one

13   hundred years I won’t have any concern, because I never had done so.” The judge

14   simply ignored the fact and neglected the real crimes, instead, she placed an order for

15   competency evaluation and put me in custody, without any reason or response, or any

16   proper legal process.

17   There is no confrontation with the witnesses, more exactly there are no witnesses

18   supported their charges, all had been verified as perjuries and collusion. (Attachment 6)

19   v.        The Eighth Amendment

20   Excessive bail shall not be required, nor excessive fines imposed, nor cruel and

21   unusual punishments inflicted.

22   (1)       Excessive bails were required, excessive fines were imposed. (Attachment 2&7)

23   (2)       Cruel and unusual punishments were inflicted, that the court failed to identify the

24   crimes and criminals. Their cruel, unusual and inhuman punishments and mistreats were



     11
       In Lee v. Illinois, 476 U.S. 530 (1986), the Court noted that the Confrontation Clause is one of several constitutional
     safeguards toc promotes fairness in the criminal justice system. In Ohio v. Roberts, 448 U.S. 56 (1980), the Supreme
     Court left open the possibility that competing interests, such as a jurisdiction’s interest in effective law enforcement,
     might prevail over the right to confront opposing witnesses. However, in Coy v. Iowa, 487 U.S. 1012 (1988), the
     Supreme Court held that that taking other interests into account should not be interpreted as creating exceptions to
     “the irreducible literal meaning of the clause,” reaffirming that a defendant has the right to confront his alleged victim
     “face-to-face."
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 19 of 49




 1   inflicted, they abused their powers, violated the law and court rule. (Specific in statement)

 2   vi.         The Thirteenth Amendment

 3   Civil Rights 12-- Discrimination 13

 4   A civil right is an enforceable right or privilege, which if interfered with by another gives rise

 5    to an action for injury.

 6   vii.        The Fourteenth Amendment 14

 7   (1) Equal Protection 15--Discrimination

 8   a) Referring to 18 U.S. Code § 242 16, SMC had multiple times directly practiced obvious
                                17
 9          actions on hearings: For example: The hearings of 6/28 and 6/30, around the same

10          time section of both hearings, both judges denied my motions in the same format of

11          sentences, claimed exactly as “non-relevant”, both judges made the same malicious

12          statement about my English language in order to revoke my right to have interpreter.

13   b) Except above mentioned Amendments, they have been too lawless to perform their

14          titles, not even humanity, the fact of discrimination can be conjectured and penetrated

15          on every hearing. Most representatively, the results of hearings were pre-decided, SCA

16          charged me for what they knew as perjury, SMC prisoned me knowing I am innocent,

17          granted warrants knowing I was in a fever.

18   (2) Conspiracy

19   Referring to 42 U.S. Code § 1985, 18 U.S. Code § 241, and Attachment 2 and other related

20   records, it’s unchangeable fact of conspiracy and conspiracy to interfere with civil rights,




     12
       Neither slavery nor involuntary servitude, except as a punishment for crime whereof the party shall have been duly
     convicted, shall exist within the United States, or any place subject to their jurisdiction.
     13
          In statement section, Attached
     14
       No State shall make or enforce any law which shall abridge the privileges or immunities of citizens of the United
     States; nor shall any State deprive any person of life, liberty, or property, without due process of law; nor deny to any
     person within its jurisdiction the equal protection of the laws.
     15
          The Fourteenth Amendment's Equal Protection Clause requires states to practice equal protection.
     16
        Deprivation of rights under color of law. Whoever, under color of any law, statute, ordinance, regulation, or custom,
     willfully subjects any person in any State, Territory, Commonwealth, Possession, or District to the deprivation of any
     rights, privileges, or immunities secured or protected by the Constitution or laws of the United States, or to different
     punishments, pains, or penalties, on account of such person being an alien, or by reason of his color, or race, than are
     prescribed for the punishment of citizens, shall be fined under this title.
     17
          Detail in the statement section.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 20 of 49




 1   human rights and any related due process of laws. 18

 2   a) Preventing officer from performing duties.

 3   b) Obstructing justice; intimidating party, witness, or juror.

 4   c) Depriving persons of rights or privileges.

 5   (3) Deprivation

 6   Referring to 42 U.S. Code § 1983 19, it is repeated deprivation for the violations, offenses,

 7    misconducts, omissions, and disabilities


 8                             3. Additional grounds-Civil/human rights
 9   How factual and distinct it has been, how absurd and pathetic they have been. See

10   Attachment 8, 9 & 10, I filed conversation and text records, listed the happened, happening

11   crimes, set forth the nature of cases, exhibited MR’s criminal background; I honestly

12   delivered what I went through, his priors had supported with declarations. For example,
                                                                         20
13   SCA has the records of his two marriage certificates as filed, with the fact and additional
                                        21
14   evidence from himself and his group , the crimes of bigamy, marriage fraud, fraud, perjury,

15   conspiracy were set in stone. Though, it’s worthless no matter how many facts but perjuries

16   and lies convinced themselves. There was no supportive evidence, so they created; there

17   was no response or argument about the crimes, so they obviated; they had no reason to

18   dismiss my motions, but they still had done; when I requested reasons and responses on

19   hearings, they shut down then shut me down prisoning me; when all the charges alleges

20   had been proofed as perjuries, when finally it came to the trail, they placed order for

21   competency evaluation, framed me of insanity; when they forced the delay and order, so

22   that they forced me to appear in person, they repeatedly prisoned me; when I was in a

23   fever, they granted warrants. “We told the court you were sick, but the judge issued the
                               22
24   warrants anyway.” “I’ll ask the court to schedule the hearing……you’ll need to appear in


     18
          Detail in the statement section.
     19
        Every person to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be
     liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress.
     20
          Attachment 11
     21
          Attachment 12, Premarital agreement, wedding, witnesses of wedding…
     22
          Attachment 13
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 21 of 49




 1   person.” And I will be prisoned again, and I will be shut down, locked up, abused and
                                                                                     23
 2   abused again, as how they had done to me, as how I predicted.

 3   i.         Inhuman treats

 4   ii.        False confessions

 5   iii.       Police prosecutor and judge misconduct

 6   iv.        Unreliable evidence

 7   v.         Perjured informant testimony

 8   vi.        Malicious alleges

 9   vii.       Known false charges

10   viii.      Ineffective defense counsel

11   ix.        Racism and implicit bias

12   x.         Inaction neglect and indifference

13   xi.        Offense and discrimination

14   xii.       Human rights violation

15              There were not once any rights, any human rights, even if just one, single one,
16   even if one of those had a little drop of humanity, justice could have been reached,
17   though, therefore the fact is the reversed. They are just sitting up there enjoying the
18   honor, appearing, speaking in a certain way; judging, claiming the just; deciding,
19   governing lives, acting. They are the louder, where stories come from; when they talk,
20   stories can be heard; in a factual way, in a hidden way, in a different way, in their way.



21                               III. Statement of the claim
22   Please refer to Attachment 15 and attached Police Reports.

23   1. Identity theft (Attachment 15 page 1-2) 24 and Identity Theft Report, number:

24           137999247




     23
       Attachment 14, in the declarations and statements of motions, I noticed the connection and logic of behavior mode
     from MR, I predicted what SMC would do if there’s no end of misconducts in order to emphasize and highlight the
     truth and nature. “There are a thousand ways for them to put me in custody.” As results, nothing worked, SMC even
     didn’t review what I filed.
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 22 of 49




 1   Fraudulent Government Benefits from EBT for 726 dollars. (Attachment 16)

 2   2. Omission and misconduct 1: King County Attorney (aka: KCA) SMC and SCA. 25

 3   3. Rental Fraud (Attachment 17&18 Police Report 2021-183800)

 4   By messages and in person, MR told me there were two options for the rent payment, one

 5   (A) was $ 900 started from the date we moved in; another(B) was $ 1250 with three months

 6   free. (Covid-19 situation) MR deceived three months payment from me claimed he took

 7   plan A, which can be verified from the attached email from lease office.

 8   4. Omission and misconduct 2: KCA, SMC and SCA.

 9   5. Digital signature violations 26-Identity theft (Attachment 17, Police Report 2021-183800).

10   In order to hide this fraud, MR forged my signature on the lease agreement, refused to

11   provide me the copy of lease agreement. That’s also when the above 1 took place around

12   November 2020.

13   6. Omission and misconduct 3: KCA, SMC and SCA.

14   7. Bigamy-Marriage Fraud.

15   As on Attachment 15 page 3-4, MR is married to two individuals certified in Lee County, FL

16   and Honolulu County, HI. Refer to Police Report 2021-082422 (Attachment 19) and the
                                                                                       27
17   provided evidence (Attachment 17), pursuant to Criminal Law , it was absolute bigamy.



     24
       As on the arrest file, his name was “Miguel Colon”, date of birth was 03/06/1964 with mugshot which matched with
     the photo posted on Ildiko Baldwin’s Facebook page. This name can be found on the court records for Domestic
     Violence as the abuser as well.
     25
       SMC, SCA, KCA are aware of the crimes. All the files, evidence and proofs were provided or filed to each portal by
     email or through the E-file systems.
     26
        RCW 9.38.060 (1) A person shall not knowingly misrepresent the person's identity or authorization to obtain a public
     key certificate used to reference a private key for creating a digital signature.
     (2) A person shall not knowingly forge an electronic or digital signature.
     (3) A person shall not knowingly present a public key certificate for which the person is not the owner of the
     corresponding private key in order to obtain unauthorized access to information or engage in an unauthorized
     transaction.
     RCW 9A.60.020 Forgery.
     (1) A person is guilty of forgery if, with intent to injure or defraud:
     (a) He or she falsely makes, completes, or alters a written instrument or;
     (b) He or she possesses, utters, offers, disposes of, or puts off as true a written instrument which he or she knows to be
     forged.
     (2) In a proceeding under this section that is related to an identity theft under RCW 9.35.020, the crime will be
     considered to have been committed in any locality where the person whose means of identification or financial
     information was appropriated resides, or in which any part of the offense took place, regardless of whether the
     defendant was ever actually in that locality.
     (3) Forgery is a class C felony.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 23 of 49




 1   8. Omission and misconduct 4: KCA, SMC and SCA. 28

 2   As on Police Reported 29, “Completed Anticipated Decline form.” “Received decline from

 3   King County Prosecutor’s Office.” It’s absolute omission.

 4   9. Other frauds-deceived payments and costs.

 5   As on Police Report 2021-183800 (Attachment 18): "INV DV RELATED FRAUD, EXHUSB

 6   UESD HIS IDENTITY TO TAKE $15K, SUSP NOT AROUND OR EXPECTED."

 7   10. Omission and misconduct 5: KCA, SMC and SCA. 30

 8   11. Domestic Violence 31

 9   On the day of 07/24/2019 in 60 Nguyễn Thị Minh Khai, Trần Phú, Hà Tĩnh, Vietnam the

10   hotel called Khanh Huygens hotel. There MR hit me with a chair and ashtray. I was badly

11   injured. He also broke my phone and iPad. When he was destroying the devices, he yelled

12   at me that he had put his Mac away last night in the school office. So, I wouldn’t be able to


     27
        RCW 9A.64.010 (1) A person is guilty of bigamy if he or she intentionally marries or purports to marry another
     person when either person has a living spouse.
     (2) In any prosecution under this section, it is a defense that at the time of the subsequent marriage or purported
     marriage:
     (a) The actor reasonably believed that the prior spouse was dead; or
     (b) A court had entered a judgment purporting to terminate or annul any prior disqualifying marriage and the actor
     did not know that such judgment was invalid; or
     (c) The actor reasonably believed that he or she was legally eligible to marry.
     (3) The limitation imposed by RCW 9A.04.080 on commencing a prosecution for bigamy does not begin to run until
     the death of the prior or subsequent spouse of the actor or until a court enters a judgment terminating or annulling
     the prior or subsequent marriage.
     (4) Bigamy is a class C felony.
     28
          RCW 26.04.210 Affidavits required for issuance of license-marriage license
     29
        Deng provided copies of his King County marriage application, a foreign police report, images from his wedding,
     and a text message chain between him and Rivera.
     I collected the documents and submitted the evidence Deng provided.
     His estranged husband (Miguel Rivera) married him when he was already legally married to two other individuals. He
     discovered Rivera had another husband, and wife. They were originally married in Indonesia, and later certified their
     marriage in New York when they moved to the United States. He cut off all ties with Rivera when he learned he was
     the third person legally married to him.
     Investigation:
     1) 04/09/21 1300 Assigned case to myself as A/Sgt due unit workload. Screened case with KC Prosecutor’s Office. KC
     Prosecutor Supervisors D. Martin and B. Maryman. Requested to copy of report before any investigation. Completed
     Anticipated Decline form. Copy sent to Prosecutor’s Office.
     2) 04/20/21 0800 Received decline from King County Prosecutor’s Office.
     30
       RCW 9.12.010 Barratry.
     Every person who brings on his or her own behalf, or instigates, incites, or encourages another to bring, any false suit
     at law or in equity in any court of this state, with intent thereby to distress or harass a defendant in the suit, or who
     serves or sends any paper or document purporting to be or resembling a judicial process, that is not in fact a judicial
     process, is guilty of a misdemeanor; and in case the person offending is an attorney, he or she may, in addition thereto
     be disbarred from practicing law within this state.
     31
          Attachment 19, 20 & 21
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 24 of 49




 1   destroy his. I was tested with a concussion from the hospital in ha noi named The Cuc

 2   International General Hospital and located at 286 Thụy Khuê, Bưởi, Tây Hồ, Hà Nội 100000

 3   Vietnam. Before I run away from the violence, he threatened me that the Vietnamese loves

 4   Americans and they hate Chinese.

 5   12. Before 16/11/2020 32, MR broke my iPad and he threatened me as he will put me in the

 6          jail even I did nothing illegal.

 7   13. At Csilla Travis’s place, he insulted me for my race and nation.

 8   14. MR threatened me of I don't have any rights here.

 9   15. MR defrauded all the cash from me. (Fraud mentioned above) On 16/11/2020 33,

10   16. MR kicked me out, threw my belongs, destroyed my devices while threatening, cursing,

11          and framing at me.

12   17. MR defamed me of using meth and cheating. Which I never did, as police officers

13          stated “S/Deng did not appear to be under the influence of any narcotics or appear to

14          be a narcotics abuser.” in the report.

15   18. MR libeled me to his friends and to my friends and families. He didn’t let go any chance

16          to destroy my life, after knowing my mum was having a surgery, he intentionally framed
                                                               34
17          me to her so that more damage caused . Which was totally inhuman, shameless, and

18          pure evil.

19   19. The isolation, lies, abuse, tortures were happening every moment he’s with me in the

20          apartment. He made up stories such as there's a camera in the apartment, of me
                                                     35
21          stealing, cheating, having STD… As fact, MR had himself infected with syphilis before

22          10/2020 as a cheater, regarding to the messenger records, his cheating activities had

23          been lasting for 11 months.



     32
        The agreement was promised with audio records.
     "The 5 conditions" (1). not to get any of my friends or family members or any other people involved with whichever
     situations we could be having. (2). Stop libeling or defaming me, and never use my identity or nation or race to
     threaten or as excuses or hold it against to me. (3). To give me back the former agreements we signed. (4). To solve
     the phone, iPad, and flight ticket problems. (5). Never to kick me out again.
     33
          Audio records were taken when those abuse were happening.
     34
          Attachment 22 Screenshots of texts, posts. Audio were recorded.
     35
          Please see Attachment 23 and other related attachments for more details.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 25 of 49




 1   20. Omission and misconduct 6: KCA, SMC and SCA. 36

 2   21. Libel/Slander/Defamations/Lies 37-Projection

 3   Audio records, texts, messages, declarations are attached. As MR’s doctor wrote on his

 4   medical records: “……he makes excellent eye contact…… otherwise examined.”, he did, and
                                                             38
 5   that’s how he deceived trust, emotion, and relationship. Time exposes lies, there’s no

 6   relationship can be strongly built on some empty hole, the higher, the deeper damage

 7   would be caused when it falls. Therefore, his relationships had always ended up with court

 8   records and complaints. When reading what his husband texted him, I saw myself from
                                                                                                         39
 9   those words, I was experiencing the same abuse, the worse abuse, the worst treats.                       The

10   following is a list for exact fact what MR lied:

11   1) He was divorced.

12   2) He was married to me.

13   3) All kinds of Relationship lie and promises.

14   4) He said I stole his money of 200 USD cash. He said I took his Mac thing.

15   5) He told me he saw me I was putting meth into a cigarette, and I was smoking the

16          cigarette in the M street appointment 405 bathroom.

17   6) He said he saw me giving myself a needle to myself in the other hotel’s bathroom and

18          he also told me about the servers in the hotel saw me using meth (but he did not say in

19          which way or format)

20   7) He said I took the meth from the snack box, and I have been using them for these days.

21          And I will show him a video. And I will explain what I have done and the reason

22   8) He said I have been using meth for over a year.

23   9) He said he saw me giving myself a needle on Bali Island. Also, in person by himself.

24   10) He said I did not buy the swollen nest on Bali Island. And referred to something about

25          the drive told him which I am not sure.



     36
          Police Report 2020-348546, 2020-348008, 2020-324971, 2020-323263, 2021-023990, 2021-016844, 2021-013432
     37
          Attachment 24
     38
          Attachment 25, The summary and pattern.
     39
          Attachment 26, Ex folder.
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 26 of 49




 1   11) He told me he has talked to the person from Vietnam, but I am not sure who that was.

 2        He was referring that I brought meth from that guy. And, from Vietnam he told me

 3        Chaz ‘s ex-girlfriend was giving him some opinions or whatever. It means he has

 4        involved back then. Which we agreed not to involve others like the way he did.

 5   12) he told me I had a WeChat friend from Twitter, and we were discussing something

 6        which he did not tell me what. And he said he asked someone to translate. But there

 7        were no WeChat friends from Twitter.

 8   13) He said Csilla did go test the hair I left. Which I totally doubt it.

 9   14) He referred to me I was cheating by asking me who were behind my ass on November

10        2nd night.

11   15) He has got Bryan and Stan 40 ideas. Which means he has been discussing with them

12        about some situation. But he did not tell me the details. He only told me a part of it.

13        And not to involve others was a very old agreement.

14   16) He Asked me to leave again. Which he called it a nicely kicking out. Whether nice or

15        not. It was to kick me out. And he was very aware of saying that at the moment.

16   17) He told me the next day I gave him the 300 for the apartment he has already paid by

17        himself in person. He also told me he could not get cash from his cards. And his friends

18        were delayed. But the following weekend. I told me in person he would get some cash

19        from atm to the urber driver. And later on, when he was back, he told me it was 40 usd.


     40
        From Wikipedia, the free encyclopedia-Stan Lippmann
     Not to be confused with the computer scientist Stanley B. Lippman.
     Stanley Irving Lippmann is a disbarred lawyer, anti-vaccination activist and a perennial candidate[1] from the U.S. state
     of Washington.
     Political campaigns
     Mr. Stan Lippmann ran for public service in various positions including, Mayor of Seattle, Seattle City Council, [[U.S.
     House of Representatives and State Supreme Court. Also, Mr. Lippmann and Mr. Scannell were denied running for
     State Supreme Court. A judge ruled that they were not eligible for the State Supreme Court challenge as disbarred
     attorneys and ordered their names to be removed from the Washington state website. Both were removed from the
     ballots despite not properly being served for the legal challenges.
     Controversies
     ===Disbarment=== October 24, 2008, Lippmann was disbarred from the practice of law according to the Washington
     State bar for financial neglect, ignorance in misappropriating funds, failure to meet his fiduciary responsibility under
     contracts . Though the Seattle times article references other charges and accusations it was not related or referenced
     in the Washington State Bar notice for disciplinary action. Further, there was no theft as the basis for the complaint
     was the pure ignorance of not following the appropriate state protocols for financial management when executing
     client funds upon services not completely rendered or rendered.[5][6]
     Appendix 1 additional fraud.
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 27 of 49




 1       It tells me that he asked all my money for a different reason. Even I was going to pay

 2       back my cousin for the flight ticket.

 3   18) He told me there is a micro camera in the apartment. And he had the video evidence of

 4       what I had done. But unfortunately, he never showed me.

 5   19) He promised me to give me some safe money in case something happens. But till now

 6       the safe money topic has happened for at least 5 times in serious and every time he did

 7       promise and sometimes, they were on papers.

 8   20) He called me a drug addict for many times to me in person. And I do not know how

 9       many times to others.

10   21) He said Csilla had a second time tested my hair and handed him the result in person.

11   22) He said he texted himself as meth positive.

12   23) He's haired by the police department.

13   24) He's got lots of advice from his boss(police)

14   25) The rental plan. (Special plan)

15   26) He threatened me and commanded me to leave on the phone call with Ildiko Baldwin,

16   27) He put water into my iPad made it broken.

17   28) He used my phone and called to cancel the phone number. he pretended as he did not

18       know, later he said his bank called him about a charge. phone usage screenshot

19       showed 5 minutes phone call when I was asleep.

20   29) He lied and claimed as I went to AT&T store pretending to be him. by which his bank

21       called him about a charge. in fact, I paid the fee in cash with my passport with no lies.

22   30) He kicked me out like some trash after robbing the last the scent of me.

23   31) He's having job interviews.

24   32) He said I was cheating.

25   33) He said he never cheated.

26   34) He said I had STD(s).

27   35) He lied about his financial situations. how he fraud my money.

28   36) Lots of stories about "drugs"

29   37) He said he was peeing blood.
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 28 of 49




 1   22. Omission and misconduct 7: KCA, SMC and SCA.

 2   23. Perjury and collusion-Please refer to the Attachment 27 as following

 3   24. 10/4/2020-11/3/2020 MR stared to discuss with Charlie Joe Wing of falsities. Fraud of

 4        lease payment forged my signature on lease agreement, theft my identity for EBT

 5        benefit were found out afterwards.

 6   25. 11/4/2020-11/18/2020 He cut down my finance, I lived by the left in the refrigerator at

 7        the whole time. When I was asleep, he took my phone, called AT&T to cancel my

 8        mobile service; he put water into my iPad and destroyed it, shut off Wi-Fi with a lie of

 9        cancellation. he took my passport, framed me to my family after knowing my mom was

10        having a surgery. I struggled and stayed together, after times of threats, I decided to

11        leave and asked for a peace end from him, I booked the flight ticket. But he’s not

12        satisfied with that, he took my passport and other belongs to control me and to stop

13        me from leaving while framing and libeling me, colluding with Ildiko Baldwin, Bryan

14        Baldwin, Charlie Joe Wing, Stanley Lippman until 11/18/2020 he threw me out like
                          41
15        some trash.




     41
        He was my first relationship, he showed me love, I loved him, I am also willing to believe there was love from him,
     there he really tried to change and wished a new life. The words like “I used to prefer a lot of friends around.” “I used
     to party a lot.” “People love me.” “I feel abandoned if you leave me.” “I am gay, so marriages can be optional.” “I lived
     a toxic life.” “I will change.” “I want to be with you for no matter what.” “You are making me a better person.” “I
     promise.” “I used to be a lawyer.” “I’m good at laws.” “Once a month is not bad.” some other statements about his
     family and more. There were some confusing empty parts, which were touched and filled with a strong emotion. After
     knowing the real MR, after the bubble exploded, I figured out those other half meanings, the empty parts were from
     the fraudulent inner personality. He is a fraud, a chronic fraud that’s why he lied a lot to me at the first night, I can
     only remember for once he mentioned about mortgage to me before the relationship. I believe the relationship before
     Indonesia can be considered as pure and real compare with the continuing. His issues grew by the further I was away
     from home, the closer to his past, the stronger power he gained, more frequently, more abusive, more deceives. The
     level of changes was detectable every time we moved. “Do you know how powerful Americans are in Philippines?” and
     kicked me out the first day I left home. The first time he beat me after moved to Vietnam. I believe the first time he
     cheated was in Indonesia. The first racist threats were right after the last move to here. “I know I have control issues.”
     “It’s my fault.” “Please don’t leave.” “I didn’t realize that.” “I didn’t expect that.” “I guess, I am saying it differently now.”
     “I wish, I had a time machine. Unfortunately, that’s a fantasy.” “It’s misunderstandings.” It makes more sense now
     reading the text: 2020/8/7/ 09:29 Rivera Michael
     I have alot on my plate. I have alot of projets and responsibilities. I don't have total control of the Covid situation. but
     lasat year we went on Vacation as agreed for a month April to May, then Vietnam on May 7th to march 11th with one
     month vacation in the middle. 8 months in Vietnam. This was necessary in order to get us back on track and to honor
     my contract without getting in trouble in my country. I am sorry, if you are not happy with this but we had to do..
           Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 29 of 49




1   26. 11/18/2020-11/20/2020, he changed the room lock, preparing conspiracies. He even

2        called community security to escort. “I thought he was a police officer because he’s
                                                        42
3        wearing a gun. So, I called police.”

4   27. I read the brochure about Domestic Violence from Officer, started to know about

5        Domestic Violence and I finally realized and recognized Domestic Violence. I cried all
                                                  43
6        night, wrote them a long text.



    42
       Refer to Police Report 2020-324971. I believe as a normal person, when it comes to a relationship, about some loved
    one, would choose to protect the relationship and the loved one. That’s how I felt and what I did. I only reported the
    issues in the very recent. I am too different than MR, I didn’t know what’s important was not about perjury, frame,
    deceive, abuse, theft……, it’s what it looks like, how it was said, how it was showed.
    43
       Attachment 27, the related case number 21-1-05123-8.
    While I was experiencing the abuse:
    I think this is going to be the last time I text you. And I hope you can read this. And it’s up to you. And if you choose to
    read. Please be careful it’s gonna be very long.
    I want an end for everything and also an end of texting you to tell you what I suffered because honestly I really don’t
    share my personal stuff or situation that much. And I really am very extremely tired now and I really tried and waited.
    But it’s pushing to this point. Nobody would like to see. But at least I want to end up in peace. And end up nicely to
    each other.
    After two days ago I let you see he was spying on me right. I guess he was pissed. So, after he saw me in the rooftop
    lounge. He called a security guy to ask me to leave. I think the software also gives him my location. That’s why I was
    using VPN to hide. And it sounds so pathetic to me. But I am still in the lease and paid. I even can be in the room by
    law. Even I didn’t pay any. I still can. As long as I am also in the lease.
    I always leave when I was kicked out. But the first time of this situation I didn’t and I told him. I was allowed to be in
    there and he can’t kick me out whenever he wants. And it’s against to the law. I chose to stay and to wait. During the
    time he asked me about when I would go and my arrangements. At the time my ticket has been booked and it’s 16th.
    They canceled some of the flights and mine was one of it. Which I think it’s not his business and I told him that. He
    also asked me to talk to him. And I told him to wait until I can.
    Before I talked to him. I asked for his promotion. And he said in about 15 mins. That’s why I asked ildo to be a witness.
    She refused to be a witness but we decided to record the conversation and she would listen to that. Because he has
    made the situation too big by him telling all of you by his sayings already. I wanted at least as a good friend of him to
    be there as a witness to just listen he could accept. And he did.
    About 4-5 hours later. He and ildo were talking. But I don’t know who called who. And it might be ildo asked him
    about what I wanted to say. He told her I was just still gonna play something like that. But if he had read my
    preparations instead of spying. He could have known what I was going to say. In short. It’s about “to be truthful” just
    like I texted ildo. I wanted him to know. Before he asks me to be truthful. He needs to be truthful. And he has been
    doing and talking to you guys. And I cannot accept him to ask me to be the way he even has been able to be.
    About what he was saying to me. There are too many untruthful things. Like he put a camera in the room. Csilla had
    my hair tested. His dick was tested positive. And many. But he didn’t think what if I test negative. And If I am tested
    negative but he has told me and you his dick was tested positive. Then he must have had sex with others. Only he
    cheated. He can be tested positive. Right? And I have the right to call them lies and him a liar. I understand we both
    were hyper. But during the time. He was threatening me and telling me he could call a police officer and he has a
    strong family so that he can get away from it. And his boss would take care of him even a lawsuit. Not too convincing
    actually I think. Even he was telling me. As an Asian foreigner I am not covered that much. I don’t have any rights here.
    Things like that. Ildo can also see him texted I don’t have any rights in the group text. He said those things for many
    times. Even I knew it’s not true. Just like I knew he was lying when he was telling me. The police have my fingerprints
    and my DNA. As long as he reports I will be in the jail. Many things like that. I didn’t fight back or defend myself from
    those. Because I was not only shocked but also very disappointed. And also, I didn’t know what to say or act back.
    I started to feel he could be dangerous to me. He can be very extreme when he wants something. And I think he knew
    he has been lying about things. Just he doesn’t want to admit. I guess he has convinced himself. And no matter how
    many things he needed to create. He insisted what he has convinced himself. I guess maybe you guys can feel or have
       Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 30 of 49




seen already. When he describes something he likes. He makes the good sounds better and the bad sounds worse. This
is only my thinking. And I think it’s no good no bad. Everyone does. But the levels are different. Just what he has done
to me was too extreme. And I don’t want to deliver the wrong information.
And it finally ended up he gave me a date to leave. The 16th. And it’s accidentally the same date as my flight. And I got
the email 14th about the cancellation.
Until the day I left. He constantly was still being that way. And we both were at least stubborn. But honestly I didn’t lie.
And everything I have texted you guys before. They are all honestly talking. But I don’t want to say he was a totally
bad person to me and I was totally good. We both had good and bad things but his were stronger maybe. He was
better and worse.
As he called a security guy to ask me to leave. And I was afraid he might be extreme. And at the moment. I didn’t know
he was a security. I thought he was a police officer. Because he was armed with a gun.. very new to me you know. I
knew I still had the right to just at the rooftop lounge because I was there only for the Wi-Fi.. I didn’t go to him. He
didn’t see him. But he went up and saw me. And it’s also after the group texts I gave you and I wanted him to stop
doing that. He must be angry. I cannot speak for him but from his actions. I feel that way. And he should know now.
Every time he involved you guys in the situation. How mad I have been about that. He even agreed not to do that
every time. At least I didn’t text anything I made up. Truthful pictures and honest sayings. Also, why I tell you not to
look if you don’t feel like. I really don’t want to involve people. Because nobody can be just only justices but not taking
sides. And the middle person will always be blamed.
I texted you guys. Only because I wanted to defend myself. Because when he talks to you. That’s a matter between you
guys not me. I Joined you for my own justices. I want to have my right to justify. Nobody is here for me but only he
was. But I was here only for him. So when he wasn’t. I was totally lost and nowhere to go no one to reach. I could have
called my ex-boss though. But he also texted him that. I decided not to say too much personal stuff to him so I just
simply told him that I was sorry he’s being involved and I suggested him to stay out. Now I am thinking I was too
stupid I was being lazy to use my own right.
I can feel something when he asked all my cash from me. Especially after he told me he gave the girl 300. But I saw the
300 was in his bag and he took it out to pay for the 50s for the things only can be paid cash. He refused to say that
was the 300 from me. But I saw the 300 were in two types. One is in one type and two were in another. It’s just too
incidental to be coincident. And his card was available and he was using them. I felt like something was up. And this
kind of feelings. I always had. For example. After he broke my iPad and phone during the fight. He was saying like he
put his Mac at the office. You know he always carries. And before he kicked me out in Bali. When I asked for my
luggage and passport. They were all in some places. And others.. I don’t want to be too mean.. I accept it’s my
overthinking. But just too many things happened in the same pattern for too many times.
This time the same. Before I used my right to stay back into the room. He has asked for the cash from me. Even though
I planned to pay my cousin back. Which he promised me he would do. But he didn’t. Ur. It comes to another thing.
About 5 things I asked him to do and to be. And I actually said that was my condition. If he couldn’t do. I could have
left already. Because I only asked him to only not to use my identity to threaten me. Not to involve people if there’s a
next time and for he put a spy software in my phone and pad he needed to repair those. And the ticket. And he didn’t
follow but he even was telling there was no agreement. I was totally disappointed and that just shut me up at the
moment. This is again like the same pattern. He uses pretty words to convince me to stay but he doesn’t care if he
does the same bad things to me again. I don’t want to say he is a bad person for being that way. It’s called not respect
and not being responsible. Not only to me but also to himself. And I am sick of the game of him telling me if he tells
me I can go back and stay so I became childish if I don’t and the one chose to go. Be awake and be responsible for
your own words. I chose to leave. Yes, but because you asked me to. If you don’t take your own responsibility and
admit to what you did wrong to me. How dare you open your mouth only to be sneaky and pushing away the
responsibilities. I can be told I chose to go. So you need to also accept I tell you I left because you asked me to or even
kicked me out. And if you remember what you said before I left. You were totally a disaster to me for saying that. And I
am sick of him telling me you guys said what what what. I don’t care if it’s truthful he told me the same as what you
said to him. But once it came out from his mouth. I consider he said so. only if he agreed or he was the one leading the
conversation. So he can hear what he wants to hear. It’s just how felt from it and I really don’t know what’s point and
what’s the satisfactions.
And I called 911. So the police came and I reported very cautiously. I only said about what happened this time and
only mentioned about two things from past. Only because I guess I still love him. I didn’t say anything about the
defamations the times of he kicked me out I even didn’t tell them he has been spying on me And I don’t want this to
be too bad in the end. But when I heard the security guy said something. And he lied even to everybody. I was
honestly regretful for not mentioning everything. What does he gain from that and do you really do to hurt me to
satisfy himself? Or for what? Why? How come?
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 31 of 49




 1   28. Which was being considered as offense to MR, he perjured to get a protection order.

 2        He called police. (Report numbrt:20-324971) “we were dispatched to a DV Order

 3        Violation …” “S/Rivera only had a partial copy of the warrant, with none of the Law
 4        Enforcement Information. In addition, S/Rivera stated it was his only copy and he has
 5        not gone through the proper channels of having S/Deng served; at this time S/Deng
 6        had no knowledge of the order, nor had he been served. S/Rivera did not state to us

 7        why the order was placed, or needed, however, he wanted S/Deng away from him
 8        and out of the building. At this time, S/Deng was on the rooftop lounge not
 9        disturbing S/Rivera. S/Rivera asked us to notify S/Deng of the order and to escort him
10        outside of the building. S/Rivera did not provide us with any detailed information.” “I



     But the police were nice though. He was so much nicer than I thought. For the images of America policemen from
     shows and movies. I thought if I didn’t put my hands in somewhere they can see. I could be taken away. And he was
     nice enough to good me a small information book. There are pictures as below.
     He was also nice enough to bring me a Chinese one. And he was the one only being nice to me all these days. Even I
     know that’s his work. But only from him I felt some heat. I know you don’t bare the responsibilities to be a certain way
     to me. And I didn’t expect anything. I know where to put myself at. And I know where he put me at. I can finally decide
     to choose what’s good to me. Not just to wait or decide what to do based on his position.
     And this book is the reason I am texting you this long thing. And I know you actually don’t need to waste time on this.
     But I really just want to be heard. And when I was reading this last night. Especially the part about what is domestic
     violence. It says it always be misunderstood like the fights and angers between the two persons in a relationship. But
     it’s not. It’s also not the argument or temple. It’s a series of harmful activities about the one wants to control the other
     from their mind. Any way you can find a better definition than my translation..
     I was crying so much when I was reading that. Of the signs of a domestic violence. He matches items and he knows he
     has control issues. But I really couldn’t stop crying and Here I am typing you this. Just like I wrote. We both have good
     and bad. And even for everyone. I think it’s normal to match some items. And I know he was still spying on me even
     yesterday. Even he was told not to just one day before and he knew it’s wrong. I guess it’s really how love works. And
     the characters were so heavy for me to read. It’s my own language telling me. Even it’s just simply some ink with
     papers. It carries so much. I guess I know I still love him but by reading that. I really need to let go and how much my
     tears were how deep my sadness are. As his friend. I don’t want you to do anything for me. But I really hope you to let
     him know about that page. I don’t want to decide or speak for you about how he is or what. I simply think it could be
     helpful to him.
     And this is truly the main reason why I am typing you. I want him to stop being harmful and he needs to realize that.
     And again, I don’t need you to have the same idea as mine and all the words about what happened before was a
     saying from an ex-husband. I really don’t need to hurt him. I really don’t find any satisfaction or anything like that.
     And I really want him not to continue what’s he’s doing or what’s he planning to do. He has been pushing me too
     much already. Till this position and I am just in pieces and too heartbroken to get myself together to the relationship.
     he told me I am here for convenience. But the convenience is now hurting me badly. And I don’t like the convenience
     anymore. So, I will protect myself if I have to. and I have the right to protect myself. And now I am almost out of cash
     because the tests are expensive though. Totally almost 1500 maybe because I don’t have insurance. And some more
     days I will receive more. And honestly I talked to my mum. But I didn’t tell her this kind of situation I am in. I really
     don’t want her to be heartbroken as me. And I want to take a nap and decide how much further I will do. And I will
     have to say sorry in the front but I don’t want to see your response. You can say I am being too selfish or whatever. I
     just don’t want a chat and I want myself in peace. Thanks for the understanding.
     Thanks for your patience if you just finished reading this. And it’s a long work for me and a long work for you too. I
     hope you didn’t find your time wasted and I do really feel kind of embarrassed to type you this long. But at least. This
     could be some gossip when you chat. Right?
      Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 32 of 49




 1   showed S/Deng the copy of the temporary protection order and explained to him the

 2   orders. There was a language barrier between S/Deng and I.” “S/Deng took photos of

 3   the copy, and stated he understood the conditions of the order. S/Deng stated,
 4   S/Rivera asked him to leave the apartment three days ago, voluntarily. S/Deng stated,

 5   he gathered some of his belongings and left the apartment to stay in a hotel for a night

 6   or two. S/Deng stated, S/Rivera took all of the cash S/Deng had on his person's that

 7   night. S/Deng stated, upon coming home, his locks were changed and security was

 8   telling S /Deng that he no longer lived at the residence anymore. S/Deng stated to
 9   me, that he is on the lease and paid half of the deposit and is in possession of a

10   building Key FOB. In addition, S/Deng stated, S/Rivera cut off S/Deng from their
11   cellular plans, as well as declined his bank card in their joint account on 11/19/2020.
12   S/Deng stated, he had no funds and is unable to contact any friends or family,

13   unless he has WIFI. S/Deng stated, he was unable to stay at a hotel due to lack of
14   funds. S/Deng stated, he had booked a ticket to go back to China on 11/16/2020,

15   however, the flight was cancelled due to COVID-19, and rescheduled for mid-

16   December. S/Deng stated, he had nowhere to go, and S/Rivera knew of this

17   information. S/Deng stated, there has been nothing physical between the two of them
18   and doesn't understand why S/Rivera is doing this. S/Deng stated, S/Rivera accused

19   S/Deng of using drugs and of an affair. S/Deng did not appear to be under the
20   influence of any narcotics or appear to be a narcotics abuser. S/Deng stated, at this
21   point, he was trying to find a way back home to China and to end his relationship with

22   S/Rivera. S/Deng stated, this has been an ongoing issue where S/Rivera has made
23   S/Deng leave there residence before. S/Deng stated, there was no disturbance today
24   and did not see S/Rivera. S/Deng stated, he was unsure of how S/Rivera knew S/Deng

25   was inside the building. S/Deng stated, he believes S/Rivera is tracking S/Deng through

26   some phone app.” “After walking S/Deng out of the lobby, I saw S/Rivera standing
27   around the corner, near the elevators. Officers told S/Rivera to stay in his apartment,

28   while we got things sorted. S/Rivera stated, he overheard my conversation with
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 33 of 49




 1          S/Deng and did not want to financially incapacitate S/Deng or make him homeless,
 2          but stated, S/Deng "needed tough love".”

 3   29. The shamelessness and inhumanity were more than obvious compared to the fact or

 4          from what was reported without prejudice. In addition, my statement stayed in the

 5          same logic all along, when I got to know more about the truth, the statement got more

 6          substantiated.

 7   30. 11/20/2020-01/20/2020 At the shelter, I was in a breakdown, I vomited blood, 44 I was in

 8          desperate. It’s his second time forcing that hopelessness on me. MR was not satisfied,

 9          he asked Charlie Joe Wing to detect my movement, to spy on me and to report to him

10          when Charlie Joe Wing made a promise he would not. I was in the most vulnerable

11          status, I put down my guard, didn’t realize those abusers and traps.

12   31. Ildiko Baldwin, Remington A. Yhap Csilla Travis were all his weapon and collusions to

13          secondary damages. All of them had nothing in real, they kept bringing up MR until I

14          couldn’t stand the prejudice and secondary abuse, I blocked them. All the conversations

15          became materials to frame me by misleading and perjuries. Their declarations are not
                                                                            45
16          logical, without any common sense, but well designed by timeline . Their discussions
                                                       46
17          on messenger are the best proof.

18   32. MR filed to the court perjured and claimed a recent third-party contact happened as

19          violation with a screenshot intentionally taken without the “clock” from cell phone 19

20          hours before hearing in order to have me no time and chance on preparation. As fact,

21          that’s another conspiracy.

22   33. On Dec 12 MR to Ildiko Baldwin

23   Dec 12, 2020, 5:21 PM

24   Miguel Rivera

25   I love him more than my own life! I can’t believe you don’t understand this! He thinks I

26   don’t love him. He thinks based on what you guys said. I don’t care about him. I pushed to


     44
          Attachment 34 was a note from the shelter for medical support.
     45
          Attachment 35
     46
          Attachment 36
            Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 34 of 49




 1   hard to get him to just tell me the truth about the drugs 47. What right do I have to treat him

 2   this way. I don’t care who is wrong or right. I am thankful I am alive. I am broken-hearted.
                                                                          48
 3   That’s not the real issue! He is my soul-mate, partner and my husband . I and anyone

 4   should not tell him otherwise. You have the paperwork . I said if that’s he cars s out is to

 5   just stay only to divorce me. Then tell him we are not married. I was angry when I said

 6   this. You know we are based on the documents. I easily keep here. The paperwork
 7   from Seattle is here. I already dropped the case. I love him. You told him to back to China.
                                                         49
 8   You know, I woke up screaming his name after surgery . He is not the only one crazy. I am

 9   too., He is everything to me ..

10   Dec 12, 2020, 5:22 PM

11   Miguel Rivera

12   This is what you should have sent him.

13   Dec 12, 2020, 5:24 PM

14   Miguel Rivera

15   I am so unhappy everyday without him. He is the only person in my life that I have ever felt

16   like this for. Everyone that know me . Can never say it’s not true .

17   Dec 12, 2020, 5:25 PM

18   Ildiko Baldwin

19   What can I do to help?

20   Dec 12, 2020, 5:26 PM

21   Ildiko Baldwin

22   Tell me

23   Dec 12, 2020, 5:26 PM

24   Miguel Rivera


     47
       The “drug” was an excuse and strategy to transfer focus away from the situation of being suspected and exposed
     from frauds and abuse.
     48
      There, MR still claimed me as “husband”, he was claiming “You (Ildiko Baldwin) have the paperwork. (About
     marriage)” “You (Ildiko Baldwin) know we are based on documents…”
     49
       Match with his medical records, there was no surgery at all. Acting and playing sick/weak is his best skill. There are
     court records where he declared (perjured) “treatment for cancer in China.” (Attachment 28) against to the fact but
     brought him a pity from the judge such like “hope the treatment goes well”.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 35 of 49




 1   He should know the truth .
 2   Dec 12, 2020, 5:27 PM

 3   Miguel Rivera

 4   We lied to him out of anger .
 5   Dec 12, 2020, 5:27 PM

 6   Miguel Rivera

 7   I owe him that ..
 8   Dec 12, 2020, 5:35 PM

 9   Ildiko Baldwin

10   Ok

11   Dec 12, 2020, 6:04 PM

12   Miguel Rivera

13   I am freaking out from the surgery. Before the tumors were making me be a different way. I

14   can see a lot of things wrong with my approach. He should make his decision,but I don’t

15   want him to leave?......

16   Dec 12, 2020, 6:04 PM

17   Miguel Rivera

18   Why didn’t anyone tell him that I live him . I didn’t need an apology. Just needing him to

19   open up. If he loved me truly . He should know that, I needed chin as much as he needed

20   me. I wanted him to tell me the truth that he brought the stuff. He didn’t use . Ok , didn’t

21   care about that .. I wanted the first step . If he truly lived me .. he could give me that . Why

22   did he not understand that . He took things to such an extreme. Now , look not me or him

23   are right . I am not happy and I know he is not either . 50

24   Dec 12, 2020, 6:05 PM

25   Miguel Rivera

26   This is the first time, I am writing like this to you .

27   Dec 12, 2020, 6:07 PM



     50
          MR was still spending time on something he made up in order to hide all kinds of crimes as conspiracy.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 36 of 49




 1   Miguel Rivera

 2   My heart feeling guilty for all this and he told the cops that information and took the easy

 3   way to help away from me. Now the protection order is over and his filing is over and I can

 4   text him.

 5   Dec 12, 2020, 6:51 PM

 6   Miguel Rivera

 7   You guys need to stop pushing me. I am mentally not stable these months. A lot of stuff I

 8   found out really hurts me. He and you both have to understand. I did trust him with my

 9   heart . ….. My heart I cannot push to not love him …… He certainly may not understand or

10   agree. It’s why I stopped him with luggage or take his passport to prevent him from

11   leaving no! To prevent the extreme situations it would get to. …… At the end that man
12   is my heart. I never gave it freely to anyone but him .. I talk to people knowing I would

13   never to cheat on him and emotionally still connected to him. ……I have not been able to
                                                51
14   eat for weeks now . You see how much I lost . …… In my heart he was my husband in

15   Hangzhou…… No one can replace him as mine and my heart only wants him. …… When I

16   kicked him out truly , I expected him to come back and work things out . He thinks
     differently and than our culture. The last time I was dealing with mom death didn’t even
                                                                                                          52
17

18   know I ask or told him to get out 53. …… I was crazy and mentally separated like my
19   mom milagros 54 . I realized and understand under extreme emotional pressures I am in
20   trouble. Here is the same thing and I am not myself these days and feel the same as

21   then . You think it’s easy for me to say ? It’s not .. that’s why I say .. you don’t understand
22   and don’t know the level of love I have for him . …… Usually, I would text, hold him back,

23   control something to prevent him from doing something extreme. This time I just




     51
          MR was active in many ways included eating. The medical report shows within 1 kg weight gain or loss.
     52
        Attachment 29, he doesn’t have that so-called mom, the mom was made up to make his abuse an excuse as another
     trick of manipulating people burning compassion.
     53
       Attachment 30, There, he was extremely controlling me, refusing to give me the room key, locking me up like
     prisoning me. He took my passport again, and refused to give back my belongs, I escaped and suffered more attack
     from his people due to his lies in a total reversed way.
     54
          His family abandoned him for the same reason, his lies, frauds, crimes and criminal frames.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 37 of 49




 1   stayed nice and quiet 55 . Until he sent the Facebook and just posted to explain but no

 2   attacks . No contact .. why? All I wanted was to responsibility for the ... look I tried his way ..
 3   funny he will say .. I did and at the end still the same .. I never can do anything right and

 4   fail at trying to be a good heated person to help him . I am too controlling, stubborn,
 5   now i am abuser and a heartless person . ……

 6   The above happened on 12/12/2020, after the harassment from Remington A. Yhap.

 7   Dec 20, 2020, 5:44 PM

 8   “Don’t worry about your stuff. You won’t get in trouble.. I promise..”
 9   Nov 20, 2020, 1:44 PM

10   Judge signed the order .

11   Nov 20, 2020, 1:55 PM

12   Miguel Rivera

13   I will call you and explain . So, you don’t say the wrong thing .
14   Nov 20, 2020, 6:10 PM

15   Ildiko Baldwin

16   Ok

17   Dec 21, 2020, 10:47 AM

18   There is a declaration form and I will send it to you. Getting a copy now
19   Dec 21, 2020, 10:48 AM

20   It does not need to be notarized.

21   MR sent her the declaration he wrote 56. There “Mike got to the point…” “Mike said he

22   had…”

23   “Hui said to us…” “Mike was said…” “Mike again said…” “Mike was pretty hard this time

24   said…” “When Mike called me…” “Mike was very much in love…” … full of statements

25   (perjuries) simulated a third person written. As fact, Ildiko Baldwin had never met with me,



     55
       There are audios of threatening, yelling…..MR locked me down, defrauded me, theft my identity to get benefit from
     EBT, deceived lease payments, kept hacking my accounts and above mentioned was what he’s busy doing but called
     “nice and quiet”
     56
          Attachment 29
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 38 of 49




 1   the communications were all wireless, it was the same with MR. Though on the declaration,

 2   she declares, remembers and declares all the details like she was there watching.

 3   Dec 23, 2020, 7:40 AM

 4   Miguel Rivera

 5   read and tell me what to add or change asap.
 6   Dec 23, 2020, 7:41 AM 57

 7   Ildiko Baldwin

 8   Ok this is good change the address its 18291

 9   Dec 23, 2020, 10:46 AM

10   Miguel Rivera

11   I will send you the letter now can you give me the ok
12   Dec 23, 2020, 10:47 AM

13   Miguel Rivera

14   I wrote everything you agreed .

15   Dec 23, 2020, 10:47 AM

16   Ildiko Baldwin

17   Ok

18   Dec 23, 2020, 10:50 AM

19   Miguel Rivera

20   Download file:

21   messages/inbox/ildikobaldwin_m6iydgjpsg/files/IldikoBaldwinDeclarationGoogleDocs_4306

22   04121447642.pdf

23   Dec 23, 2020, 10:50 AM

24   Ildiko Baldwin

25   Wrong

26   Dec 23, 2020, 10:50 AM

27   Ildiko Baldwin



     57
          The declaration only spent her one minute.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 39 of 49




 1   The adress is qrong 18291 is the correct                  58



 2   Dec 23, 2020, 10:52 AM

 3   Miguel Rivera

 4   Can you give me permission to sign your initials if they require ?!
 5   Dec 23, 2020, 10:52 AM

 6   Ildiko Baldwin

 7   Yes its IB

 8   34. Omission and misconduct 8: KCA, SMC and SCA 59

 9   35. Intentional infliction of emotional distress/abuse. (for above 15 and 13)

10   a) There is no doubt for intentional emotional damage MR had done.

11   b) There is no doubt for SCA and SMC’s omission pursuant to RCW City Attorney-duties.

12   c) Pursuant to Rule 103 – Rulings on Evidence 60, Rule 105 61, there was no evidence
                                                                                              62
13          supported MR, SCA and SMC’s charges. MR has been forging , framing and perjuring,

14          SCA has been in charge of representing the criminal, SMC has been granting crimes,



     58
          As shown on the declaration, the address stayed the wrong one. That’s how to avoid “trouble”.
     59
        Attachment 36 case dockets.
     60 (a) Preserving a Claim of Error. A party may claim error in a ruling to admit or exclude evidence only if the error
     affects a substantial right of the party and:
        (1) if the ruling admits evidence, a party, on the record:
            (A) timely objects or moves to strike; and
            (B) states the specific ground, unless it was apparent from the context; or
        (2) if the ruling excludes evidence, a party informs the court of its substance by an offer of proof, unless the
     substance was apparent from the context.
     (b) Not Needing to Renew an Objection or Offer of Proof. Once the court rules definitively on the record — either
     before or at trial — a party need not renew an objection or offer of proof to preserve a claim of error for appeal.
     (c) Court’s Statement About the Ruling; Directing an Offer of Proof. The court may make any statement about the
     character or form of the evidence, the objection made, and the ruling. The court may direct that an offer of proof be
     made in question-and-answer form.
     (d) Preventing the Jury from Hearing Inadmissible Evidence. To the extent practicable, the court must conduct a jury
     trial so that inadmissible evidence is not suggested to the jury by any means.
     (e) Taking Notice of Plain Error. A court may take notice of a plain error affecting a substantial right, even if the claim
     of error was not properly preserved.
     61 Rule 105 – Limiting Evidence That Is Not Admissible Against Other Parties or for Other Purposes
     If the court admits evidence that is admissible against a party or for a purpose — but not against another party or for
     another purpose — the court, on timely request, must restrict the evidence to its proper scope and instruct the jury
     accordingly.
     62
       RCW 9A.60.020 Forgery.
     (1) A person is guilty of forgery if, with intent to injure or defraud:
     (a) He or she falsely makes, completes, or alters a written instrument or;
     (b) He or she possesses, utters, offers, disposes of, or puts off as true a written instrument which he or she knows to be
     forged.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 40 of 49




 1   36. Pursuant to RCW 70.24.024 63, MR had been intentionally trying to transfer Syphilis to

 2          me, it’s both intentional personal injury and risk to public health.

 3   37. Pursuant to RCW 9.62.010 64 and RCW 9A.80.010 65, to deprive another person of lawful

 4          rights or privileges; to be criminal harbor, let criminal abscond; maliciously prosecuted

 5          the innocent, reversed legal and illegal, knowingly repeatedly forcibly abusively

 6          intentionally granted nothing legal but illegal, being disabled to identify who’s criminal,

 7          what’s crimes. I am not English language professional nor for laws, I didn’t know

 8          anything about US codes or RCW in English. If some robots learned the laws, rules, they

 9          shall guard a better button line of ethics,

10   38. The misconducts and disabilities are nothing peaceful but abuse and torture, these

11          courts have no connection to justice, the laws and rules have no different than dogmas,

12          their authorities are supremacy, the governorships are dictatorships.
                                                                      66
13   39. MR sold out all the shared properties online including my passport, devices, evidence.

14   40. Referring to Police Report 2021-013432 and Attachment 39, MR violated protection

15          order on 01/16/2021, 01/17/2021, 01/20/2021. He went to the apartment every day

16          when the protection was valid. The building management witnessed and stated as he




     (2) In a proceeding under this section that is related to an identity theft under RCW 9.35.020, the crime will be
     considered to have been committed in any locality where the person whose means of identification or financial
     information was appropriated resides, or in which any part of the offense took place, regardless of whether the
     defendant was ever actually in that locality.
     (3) Forgery is a class C felony.
     63 (2)(a) The state or a local health officer may conduct an investigation when:
     (i) He or she knows or has reason to believe that a person in his or her jurisdiction has a sexually transmitted disease
     and is engaging in specified behavior that endangers the public health; and
     64
       Malicious prosecution.
     Every person who shall, maliciously and without probable cause therefor, cause or attempt to cause another to be
     arrested or proceeded against for any crime of which he or she is innocent:
     (1) If such crime be a felony, is guilty of a class C felony and shall be punished by imprisonment in a state correctional
     facility for not more than five years; and
     (2) If such crime be a gross misdemeanor or misdemeanor, shall be guilty of a misdemeanor.
     65
       Official misconduct.
     (1) A public servant is guilty of official misconduct if, with intent to obtain a benefit or to deprive another person of a
     lawful right or privilege:
     (a) He or she intentionally commits an unauthorized act under color of law; or
     (b) He or she intentionally refrains from performing a duty imposed upon him or her by law.
     (2) Official misconduct is a gross misdemeanor.
     66
          Attachment 38
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 41 of 49




 1      comes to the building every day, always tried to ask where I am, he came by on the

 2      Saturday morning to avoid meeting the other staffs.

 3   41. King County Superior Court judge, on the hearing for case No. 21-2-18169-2, 21-1-

 4      05123-8, 20-2-17997-3. ““There are lots of declarations, but don’t worry I’ve read all of

 5      them6.” “Depend on (dismissal) the result (20-2-17997-3), you can come to me, and I

 6      will assign7……” while it was the same judge dismissed 20-2-17997-3 but issued 21-2-

 7      00897-2. And it was ironclad evidence that Miguel Rivera violated DVPO for trespassing

 8      on the protected resident with the photos as the proof filed by himself to the court. I

 9      was harassed, tortured in the most vulnerable timing, was struggling for surviving. The

10      judge ignored what’s real, the violations, their perjuries, claimed as reviewed all the

11      group’s declarations but couldn’t even notice the paradoxes, allowed him to violate

12      DVPO, refused to view all my response. The standard was not to judge based on facts

13      but to decide on how many declarations. Most importantly, of all his responses except

14      their countless perjuries, Miguel Rivera did not deny or testify for any alleged offences.

15   42. On 01/23/2021, around 12am. MR literally broke into my room, his protection order

16      was not for protection, it was to abuse and to torture. There was a guy he brought

17      called his witness. Who witnessed MR broken in, threatened, I was tearing and shaking,

18      knowing more of who he is.

19   43. I called 911, though police officers didn’t do anything about the broken in, they

20      trespassed into the room to serve me the court paper. (Attachment 2 and Police

21      Report) I was in the bathroom, crying. They just accessed my room without my

22      permission or any other permissions.

23   44. SMC, SCA know the unlawful service, I had emphasized human right on every hearing.

24      They just ignored, neglected, their omissions and silence are the best proof that the

25      officers trespassed. Pursuant to the law, the unlawful service and violation of the fourth

26      Amendment are already enough for the dismissal.
              Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 42 of 49




 1   45. After times after time there was no response or lawful process to my motions. I filed
                                               67
 2          reports to King County Attorney.

 3   46. On 7/7/2020, county attorney reached out to me and asked for criminal details, I

 4          provided all the evidence, including the communications with Lee County Sheriff from

 5          Florida State, the reports to FBI, the identity theft report from FTC, report from SSA……

 6   (1) “as a result, we cannot answer your legal question.”

 7   (2) “We file cases only after they (law enforcement) have been investigated and referred to

 8          us by law enforcement.”

 9   (3) “After contacting the police, you may be informed that the matter is civil in nature.”

10          Though as a fact, I didn’t try to ask any legal question, I tried to report crimes. The law

11          enforcement had investigated and referred to the King County Attorney, KC Prosecutor

12          Supervisors D. Martin and B. Maryman. Police Report 2021-082422. After contacting

13          the police, I was not informed civil in nature, while she was provided police report of

14          crimes.

15   47. And again, as negligence.

16   48. On 6/30 hearing, around the same time section of the hearing on 6/28. both judges

17          denied my motions, claimed those as non-relevant with the same sentence. Both of

18          them asked me the same questions at similar time section on two different hearings:

19   (4) Is it necessary for me to have an interpreter?

20   (5) If so, how come the documents I filed were in English?

21   49. Forget about that the queries were hostile, ran counter to Chapter 2.43 RCW, it

22          appeared they were following the same instruction, otherwise too incidental.

23   50. I then asked for reasons why dismissed and not relevant, emphasized pointed out

24          crimes verified on my brief and what action will be taken facing, what if the prosecutor

25          is abusing her power. Then the judge warned me of potential penalties to as a pro-se,

26          stated what I filed were “facts”, which should be exhibited to the jury instead of the

27          court, and that’s what the court could provide me. She stated the public defender



     67
          Attachment 37
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 43 of 49




 1      makes right decisions, and if it was her, she would not file them to the court and asked

 2      him “Right?”. He laughed and agreed. Who never voiced any facts, ignored what he

 3      received, violated my right of privileged communications, stated that’s how much he

 4      could do since free. It must be non-relevant that the protection order was not valid by

 5      unlawful service. It must be non-relevant that the fact I don’t possess my passport, all

 6      my properties were detained or sold by the other party. So that I had been homeless

 7      stayed 45 days in the street. Eventually I couldn’t provide anything on file to pay the

 8      bail to the agencies. It must be non-relevant about the perjuries. It must be non-

 9      relevant that I had proofed Miguel Rivera is a bigamist, scam artist……a total criminal

10      with countless crimes. Nothing would be enough important to be non-relevant.

11   51. The judge stated the city will be in charge of crimes, she didn’t know/response what to

12      do with the other situation. Then I asked again for their reasons to dismiss. I stated the

13      court had gone into the opposite direction, I never abused Miguel Rivera, but he did. I

14      asked why the prosecutor had been holding on my documents/evidence away from

15      records. Why there is no penalty or cost for Miguel Rivera’s countless crimes. Even the

16      order itself was not valid with unlawful service……

17   52. The judge only focused on warning me outcomes and possible sentences as pro-se

18      and passed my questions. She only had a short pause about the unlawful service but

19      soon ignored. She told me only after the final decision, I have the chance to appeal, like

20      the decision she made. Later she asked for the prosecutor’s charges. While she asked

21      me to stay quiet because my attorney will “represent” me. The prosecutor cracked her

22      fingers turned out to be more abusive/malicious proposed absolute malicious and false

23      charges for violations, stated I hacked MR’s social media accounts, then I got his

24      friends’ address, where I sent him divorce paper to when he’s attending a “funnel” in

25      Florida. Which I believe it’s a lie.

26   53. On the other hearing, her violation charges were for some phone calls to his building

27      and photo of me which Miguel Rivera claimed next to where he lives. So that he had to

28      move. I responded on my statements as “Miguel Rivera stole my iPad full of evidence,

29      there were locations from apple.com. How was I able to locate his room number only
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 44 of 49




 1       with that uncertain information. If he’s afraid of me, why moved to somewhere only two

 2       blocks away. It’s his abusive controlling and the best excuse to abscond.”

 3   54. There was no reply from the prosecutor, no cost for Miguel Rivera’s theft and destroy

 4       of evidence. Now what I predicted becomes facts, judges authorized her, she offered

 5       him immunities.

 6   55. Ironically, I had filed proofs to both courts previously before hearing. While it is for sure

 7       the court didn’t review contexts on my motions. Since obviously they followed some

 8       same agenda with instructions, what’s the point of hearings? Where is the

 9       independence? Since the judge stated the two attorneys are always right and make

10       right prosecutions, what is her function to the court as a judge?

11   56. Further, Miguel Rivera’s friend Ildiko Baldwin, wasn’t even honest about her address on

12       her declaration. It was the FedEx operator, he found errors to match the address with

13       the postcode. (The recent discover explained above) Why did not she provide her right

14       address? While it was the notice of appeal being sent/served. The certificate/proof of

15       service was filed to both Seattle Municipal Court and King County Superior Court.

16   57. The divorce notice was sent to his attorney Mr. Timothy A. Lechner through E-mail. It

17       was the best sample of Miguel Rivera’s perjury, and how good at making big lies out of

18       small non-relevant facts. It was also malicious charges that she never verified

19       authenticities but kept abusing. Kept abusing and abusing her discretionary power. So, I

20       filed motions, tried to seek just. I never thought the judges were on the same boat.

21   58. Pursuant to RCW 34.05.437. The judges failed to procedure lawful response and proper

22       reasons for the dismissals. The city attorney does everything possible to encourage

23       crimes. There is no penalty of crimes, the judges screen criminals. The court does its

24       best on framing and convicting me of false malicious crimes. The Municipal Court had

25       thoroughly lost its function.

26   59. Shamelessly the judges decided to put me in custody. When I finally bailed myself out,

27       they stated as “I didn’t know he’s out.” Is it such a nature for them to put innocent

28       people in jail? Where is the shame? humanity? dignity? It was really such a blasphemy

29       to justice. The rest procedure was so quick like they have “rehearsed”. It was the only
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 45 of 49




 1      moment the public defender volunteered doing something. He participated in the

 2      order for evaluation. The public defender explained to me that the court may dismiss

 3      the case depends on the result of evaluation. After experiencing another week of

 4      torture in custody, finally I got out and searched the meaning of that order.

 5   60. On the surface the court ordered evaluation for competency skillfully. Their real

 6      purpose was to stealthily visualize me with incompetency. So that even if what I filed

 7      were truthful, they have excuses and can claim it’s my fault for incompetency. They

 8      officially delayed the day of “final decision” from August to November so that I couldn’t

 9      appeal to higher courts. As the smartest strategy, they whitewashed themselves and

10      slandered me. The most sneaky and nasty part is no matter what competency, the

11      result will either be I’m “crazy” or guilty, so that either I’m in custody guilty or I’m out

12      custody “crazy”. Since the evaluation requires me to appear in person, and from the last

13      experience, there are too many excuses and different ways to shut me up. With their

14      best excuses and speeches to the higher courts as “There’s no final decision” and “He’s

15      crazy.”. Such a design. Such a good countermeasure. What a pity on illegally abusing

16      and bullying.

17   61. Here I clarify myself again, I am graduated with biology engineering master’s degree.

18      Language barrier is not incompetency, neither as excuses to frame, slander, and abuse

19      me.

20   62. I was released on 7/6/2021 around 9-9:30 am, in custody since 6/30/2021 for

21      appearing in person to quash warrant in Seattle Municipal Court Room 902 around

22      11:30 am. Which caused the failure of appearance for the hearing on 7/6/2021. Though

23      no matter how many times I tried to seek responses, call, and leave messages to King

24      County Superior Court around 10 am. and 12:30 pm. I left message to the Municipal

25      Court and City Attorney’s office as well. There was no response from neither the

26      Superior Court or Municipal Court and City Attorney. I don’t understand only just to be

27      informed I don’t have a right and until now nothing in return.

28   63. Later I thought it was a hope there was a county attorney responded and asked for

29      details. Which turned out to be another hurt when she played the game of kicking balls
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 46 of 49




 1       stated they can only take actions when receive reports from the law enforcement, which

 2       they do not have. I guess 2021-082422 and 2021-183800 were fake.

 3   64. After surviving from Miguel Rivera, I thought it was a hope, so I finally felt relieved from

 4       everything, did not have to fight alone; it should be easy for them to identify the nature

 5       especially with that many proofs and evidence I submitted. But Immediately I even had

 6       to be put through with waves of further polyploid extended abuse. If it’s heartless or

 7       whatever but how injustice how nasty a court needs to be, how blind how abusive it

 8       needs to be again, how inhumane how sick again and again. I can’t know, I don’t know,

 9       I don’t want to know.

10   65. Against my family, I came out to be with him. Left home, I didn’t care any elements,

11       otherwise I could have gone back home previously being abused. He’s my first

12       relationship, he taught me love, I put all myself in. Though there were arguments then

13       he used to kick me out, sometimes took away my belongs like suitcases money

14       passport. I cherished, protected, stayed, believed. But there were too many times I had

15       experienced hopelessness, so there he promised, then with audios, then videos, and

16       into contracts, eventually into nothing but empty. Nothing changed, nothing stopped,

17       like nothing to him. Until it turned into abusive litigations, I learned what was the real

18       desperate.

19   66. His abuse is killing. Framed me from new made friends here to people on the other side

20       of the earth, he could even hurt my mom two days before her surgery. It is too easy for

21       him to destroy. He has no shame humanity and moral to me. I don’t see a sign of

22       bottom line to place a limit. You can never image how whole and deep. You can never

23       know how it is to wake up in the streets. You can never know how to become used to

24       nightmares. You can never know how to stop tearing sadness. You can never know how

25       to live without yourself. Touches are still touches, voice is still voice, lights are still lights,

26       the world is still the world, but everything has changed.

27   67. I filed statement “Pattern of Secondary Damage” last year. I had declared/predicted that

28       courts were his new subjects he plays the victim to, as well as his weapon. I predicted

29       his reactions; I exhibited a future picture from the history. But I mistakenly thought the
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 47 of 49




 1       courts were where to seek justice. Finally turned out to be another version of Miguel

 2       Rivera in judicial way. The same double standard shameless abusive, evade their

 3       unlawfulness, exaggerate, and forge. The worst are the certifications authorizations. The

 4       court itself is the rule maker. There are too many ways to sculpt things into the shape

 5       they want you to be. To find out a dead end in a quarter justice from the pint court is

 6       my worst self-expostulation.

 7   68. On the date of 9/29/2021, I had been having a fever for around 3 days, I sent the public

 8       defender a video of self-testing. My body temperature was 99 in Fahrenheit Celsius, I

 9       also told him it was 99.2 in the morning. I had a headache and to follow the rules and

10       policy to the Covid-19, I didn't have the ability to attend the hearing. Though based on

11       that, the court granted warrant. With another excuse of not participating the "order" of

12       Valuation. Regarding to RCW 10.77.240 Existing rights not affected, I shall be given the

13       right to speedy trial, jury, legal court procedure, etc. RCW 71.05.050 Nothing in this

14       chapter. (Title 71 RCW MENTAL ILLNESS) shall be construed to limit the right of any

15       person to apply voluntarily to any public or private agency or practitioner for treatment

16       of a behavioral health disorder, either by direct application or by referral. The court

17       forced the valuation, I repeatedly refused the valuation. While according to RCW

18       71.05.236, (1) (a) (b) The continuance or delay without showing of good cause and Such

19       continuance wasn't in the proper administration of justice and I had been substantially

20       prejudiced in the presentation of my case.

21   69. MR’s multiple identities.

22   Refer to report to SSA, and attachments. He has one SSN in PA, another one in CA, and

23   very possibly another in FL.

24   70. Refer to appendix 3, the court records from other states, there, the perjuries were

25       documented, bigamy, marriage fraud, abuse, identity theft, fraud,……including drug

26       trafficking, MR has at least three social security numbers, he has ruined that many lives.

27       Everything is too conclusive-that’s why SMC, SCA, KCA, KCSC, all of them never had

28       any response-that’s why even Miguel Rivera himself couldn’t, didn’t-that’s why when I

29       noticed the judges only focus on the numbers of declarations instead of truth and facts
          Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 48 of 49




 1      I realized, understood, learned why MR has been a certain way-“the system raised a

 2      monster like him-MR adjusted himself to the system-because courts never were the

 3      just, they are individuals-therefore they discriminate, they don’t care human rights, they

 4      never opened eyes, they don’t need truth-because only the SMC, SCA prosecute, they

 5      decide what’s crime, who’s criminal-then they abuse the decided criminal, abuse their

 6      discretional, dictatorial powers-as discretional, the ones talk are just them, the ones can

 7      be heard are only them-they are the story teller. Thus, as results and the fact, since

 8      then, there was not one second they stopped abusing, there was not one moment I

 9      wasn’t enveloped with the criminal shadow, there was not one day as one day, there

10      was not one centimeter they have stepped in the justice direction. Though I kept trying,

11      I never stopped yelling asking the courts and prosecutors to be legal, it’s a shame, it’s a

12      disaster, it’s desecration, it’s inhuman, it’s humiliating, it’s disgrace, it’s criminal.



13                     IV. Demand for the relief sought
14   1. The amounts of any actual damages.

15   (1) Frauds - Financial loss and costs – $ 29,800+15,000=44,800

16   (1) 11/20/2020 $3700 (2) Rents $1400 (3) 01/16/2021 $800 (4) 01/25/2021 $2500 (5) Flight

17   tickets ¥ 52600 (6) Vocational costs ¥ 37500 (7) suitcases *2 ¥ 800 (8) iPad *2 ¥ 6000 (9)

18   iPhone ¥ 4000 (11) Medical cost $1500 (11) others ¥ 2000-5000 (12) Rental Promotion “10

19   weeks for free” $3600

20   (2) Loss of revenue. $ 286,000 (A)

21   Monthly average salary: $6,500. Time span: April 2018 to present ≈44 months

22   (3) Alleging breach of contract-Premarital Agreement-Marriage Fraud: $ A*2=572,000

23   (4) Alleging breach of contract-Violations on Behavior contract: $ A*2= 572,000

24   2. Compensatory Damages and punitive damages in an amount to be proven at trial,

25      seeking punitive damages against all defendants as following; For reasonable medical

26      fees and costs; For such other and further relief as the Court deems just and equitable.

27   (5) Defamation/Perjury/Collusion-Miguel Rivera, Ildiko Baldwin, Csilla Travis, Remington A.

28      Yhap, Charlie Joe Wing
             Case 2:21-cv-01316-MJP Document 7 Filed 11/12/21 Page 49 of 49




 1   (6) Domestic Violence-Miguel Rivera

 2   (7) Inaction neglect and indifference-Miguel Rivera, Ildiko Baldwin, Csilla Travis, Remington

 3          A. Yhap, Charlie Joe Wing

 4   (8) Injunction, Negligence, Damage Claim-Misconducts, Discrimination, Torture, -Inaction

 5          neglect and indifference by SMC, SCA, KCA, KCSC, SPD:

 6   3. Grant the motion dismissed unlawfully. 68

 7   (1) Responsive declaration to Motion to order dismissal & Motion to Set Show Cause

 8   (2) Motion for Immediate Restraining Order

 9   (3) Consolidate Declaration and Motion to Termination

10   (4) Motion to modify No-Contact Order

11   (5) Motion to No-Contact Order

12   (6) Motion to of prejudice & dismiss

13   (7) Motion to Restrict Abusive Litigation

14   4. Petition for Writ of Habeas Corpus

15   5. COMPLAINT AND REQUEST FOR INJUNCTION

16   6. COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

17   7. COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE




     68
          Appendix 4
